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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


NATIONAL URBAN LEAGUE, et al.,

                         Plaintiffs,

       v.                                                   Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                        Defendants.



                              DECLARATION OF MARC MORIAL

            I, Marc Morial, declare as follows pursuant to 28 U.S.C. § 1746:

        1.        I am President and Chief Executive Officer (“CEO”) of the National Urban

 League (“NUL”) and have held this position since 2003.

        2.        The National Urban League is a 501(c)(3) non-profit corporation headquartered

 in New York, New York.            NUL is the largest historic civil rights and urban advocacy

 organization committed to elevating the standard of living for Black Americans and other

 historically underserved urban communities through economic empowerment.                Since its

 inception in 1910, the National Urban League and its affiliate movements have pioneered efforts

 to bridge economic disparities through the development of equity-centered community

 programming and direct services, public policy, research, and advocacy. Currently, there are

 92 NUL Affiliates in 36 states and the District of Columbia that offer various direct services and

 advocacy that enhance the lives of more than 3.8 million people nationwide.

        3.        I am submitting this Declaration in support of Plaintiffs’ Motion for a

 Preliminary Injunction to prevent Defendant agencies from enforcing Executive Order No.

 14151, titled “Ending Radical and Wasteful Government DEI Programs and Preferencing”
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 (“Anti-Diversity1 Order”), issued January 20, 2025;1 Executive Order No. 14168, titled

 “Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

 Federal Government” (“Anti-Gender Order”), issued January 20, 2025;2 and Executive Order

 No. 14173, titled “Ending Illegal Discrimination and Restoring Merit-Based Opportunity”

 (“Anti-Diversity2 Order”), issued January 21, 2025 (collectively, the “Executive Orders”).3

           4.   NUL was initially founded as a social services organization with the goal of

 improving economic and social conditions for Black Americans. Under its first director, George

 Haynes, NUL led the charge to help Black migrants find success in cities by providing

 counseling, reading and writing classes, and childcare for workers, and by encouraging

 employers across the country to hire Black Americans. During the 1930s and 1940s, NUL

 continued to improve access to housing and employment opportunities for Black Americans and

 advocated for federal anti-discrimination policies in the areas of housing, health, and welfare.

 In the 1960s, NUL supported the March on Washington for Jobs and Freedom and was a key

 player in the advocacy that led to the Civil Rights Act of 1964. Addressing inequities

 experienced by Black people and combatting anti-Black racism has always been central to

 NUL’s mission.

           5.   For Black Americans, the Civil Rights Act of 1964 was the first time that the

 United States government honored the promises in the Declaration of Independence and

 addressed the racial caste system that had been protected for centuries by unjust laws and

 systemic racism. But over sixty years later, the fight for equality is far from over. Resistance


       1
         Exec. Order No. 14151, Ending Radical and Wasteful DEI Programs and Preferencing,
90 Fed. Reg. 8339 (Jan. 20, 2025).
       2
         Exec. Order No. 14168, Defending Women From Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).
       3
         Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633 (Jan. 21, 2025).
                                                2
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to racial justice persists.

        6.      Current economic inequality between Black and white households is glaring. For

example, after adjusting for inflation, Black men earned $91 less per week in 2024 than in 2000,

and Black women earned $72 less per week in 2024 than in 2000. In 2000, Black men earned

75 cents for every dollar earned by a white man; by 2024, this figure had decreased to 71 cents

for every dollar earned by a white man. Similarly, Black women made 84 cents for every dollar

earned by a white woman in 2024, slightly less than the 86 cents for every dollar earned by a

white woman in 2000. The median household income for Black Americans increased from

$28,700 ($51,422.96 in 2023 dollars) in 2000 to $51,374 ($54,812 in 2023 dollars) in 2024,

indicating a positive trend. However, the median income index, which measures the income

gap between Black and white households, only increased from 63% in 2000 to 64% in 2024.

Accordingly, Black households had 64 cents for every dollar a white household had. The indices

for the percentages of Black people (a) under 18 years of age and (b) 18–64 years of age living

in poverty increased by 31 and 29 percentage points, respectively. Furthermore, the home

ownership index for Black households decreased from 64% in 2000 to 61% in 2024, while the

wealth index remained at 16%.

        7.      Given these persisting inequities, NUL’s present-day economic justice

programming and advocacy remain critical. One of NUL’s central objectives is for every

American to have access to jobs that pay a living wage and good benefits. We believe that a

person’s job should meet more than their basic needs—it should provide them with a wage that

allows them to live a full life and benefits that protect them and their families from life’s many

challenges.

        8.      To achieve this and other economic empowerment objectives for Black


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Americans and other underserved communities, NUL, in partnership with staff at the local

affiliates, manages direct services programs across several key areas: education and youth

development, jobs and workforce, entrepreneurship, housing, and health.

       9.      Diversity, equity, inclusion, and accessibility (“DEIA”) principles are plainly

woven into, and highlighted by, every aspect of NUL’s programs, advocacy, and

communications, both internal and external. Commitment to these principles is central to

NUL’s mission. For Black Americans, other communities of color, and people from other

groups who have historically been marginalized, DEIA initiatives have been transformative for

so many who have been overlooked and under-recruited because of race and gender bias. NUL

and its affiliates firmly believe that these DEIA programs are a pathway to life-changing career

opportunities that show historically marginalized people that their dreams are achievable. These

programs bring historically excluded communities to the table to create products and services

that improve and, in some professions, save lives. As an organization, NUL demands the

utilization and protection of DEIA strategies because we believe that representation is necessary

to combat race and gender inequities in education, wage, healthcare, housing, and the criminal

justice system, among other things.

       10.     Importantly, NUL’s commitment to DEIA is absolute. NUL advocates for the

full equality of people with multiple marginalized identities, including women of color, LGBTQ

people of color, Black transgender people, and people of color with disabilities, including those

living with HIV.

       11.     With that understanding, and from the foundations of equity and justice upon

which NUL was built, all of NUL’s programming and advocacy promotes DEIA. For example,

for over fifty years, NUL has developed and managed innovative educational equity programs


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    that enhance academic achievement and promote civic engagement and holistic development.

    Central to these efforts is the belief, shared by NUL and its affiliate movement, that all people,

    explicitly including those of African descent, deserve to be affirmed and supported in all of the

    full and diverse expressions of our humanity and across all learning and developmental settings.

           12.     As part of this work, NUL outlined a set of core beliefs and key principles

    regarding the educational development of children and youth from across the African Diaspora.

    To address issues of poverty, injustice, and equity in, and across, these communities, NUL

    advocates for educational institutions to broaden the focus beyond the desired outcomes for any

    individual child to also include dimensions of communal impact and vision.

           13.     In furtherance of an equitable and excellent education for all children, NUL has

    created and published a public-facing fact sheet outlining these principles called “Design

    Principles: Social and Emotional Learning for Equity, Justice, and Empowerment.”4 The fact

    sheet sets forth NUL’s position that meaningful discussions around and recognition of diverse

    histories, cultures, and identities are essential for the development of healthy and successful

    individuals.

           14.     In support of this position, NUL published a report with the Readiness Project

    titled “Thriving, Robust Equity, and Transformative Learning and Development,” which calls

    out the need to eliminate the root causes of racial inequality in opportunities for youth to thrive

    across all domains.5

           15.     These efforts recognize that equalizing educational opportunities requires the


4
  National Urban League, Social and Emotional Learning For Equity, Justice, and
Empowerment, https://nul.org/sites/default/files/2022-
05/DP%20SEL_LongForm_v4_Final%2843%29.pdf.
5
  David Osher et al., Thriving, Robust Equity, and Transformative Learning & Development,
Forum for Youth Investment (July 21, 2020) https://forumfyi.org/knowledge-center/thriving-
robust-equity-and-transformative-learning-development/.
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availability of adequate staffing, sufficient materials and supplies for learning, and appropriate

facilities, which are resources that predominantly Black and Brown schools and communities

are routinely and systematically denied. NUL’s approach to education and youth development

is designed in response to these inequities, with the goal of ensuring that every American child

is ready for college, work, and life. NUL centers equity principles in its work, including its

improvement of educational and developmental outcomes for underserved students and

investment in policies, practices, reforms and innovations that explicitly confront historic racial

inequality and create new paths for urban, historically underserved, and excluded children to

succeed. By using DEIA strategies, NUL can expand opportunities to promote better youth

outcomes, including academic, health, and social/emotional well-being.

       16.     DEIA strategies are also central to NUL’s national advocacy and affiliate

programming related to jobs and the workforce. NUL has been on the front lines of efforts to

diversify America’s workforce for over 100 years. Even before corporate leadership teams

began including Diversity Officers or other similar positions, NUL had spent decades refining

jobs and workforce programs that provide direct support to diverse communities, especially

Black communities, whose members are living paycheck to paycheck or navigating career

changes or retirement. Each of NUL’s workforce programs meets the needs of different

populations with a focus on assessing where they are and where they want to go.

       17.     One example of NUL’s efforts to diversify the workforce is its partnership with

Quick Service Restaurants to launch the Franchise Inclusion Initiative. Business startups are

key to job and wealth creation. However, reports show that non-white franchise owners are

underrepresented in comparison to white franchise owners. Black and Asian franchise owners

comprise only 6% of the market, while Latino franchise owners account for only 14% of the


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market.       The Franchise Inclusion Initiative helps combat these disparities by identifying

underrepresented individuals and assisting them in pursuing a path toward business ownership

and generational wealth building. The Initiative also counsels brands on how to achieve their

goals of more effectively representing the communities they serve. NUL partnered with

Popeyes, which was looking for diverse operators to join its franchise family, to launch the

Initiative.

        18.       NUL facilitates many other opportunities for organizations to recruit and hire

diverse employees from communities of color that historically have been underrecruited and

underutilized in the workforce. For example, NUL operates a Digital Career Success Series,

which is a professional development series for diverse young professionals, especially young

professionals of color, to teach them new skills that will enhance their career possibilities. The

series is open to NUL’s own staff and staff at the affiliates, in addition to members of the public.

Each year, over 5,000 people participate in the series.

        19.       NUL also manages the Urban League Jobs Network, a resource used by Fortune

500 companies and large brands that are interested in recruiting a workforce that is racially

diverse. NUL designs recruiting events that connect talent managers with candidates and

provides resume help and interview practice.

        20.       Aside from running these initiatives and programs, NUL consistently promotes

DEIA in several other ways. NUL staff and I regularly engage in public speaking events,

including panels, conferences, and workshops, in which we discuss topics such as the history

and impact of systemic racism, privileges and disadvantages associated with race, unconscious

or implicit bias, and the collective responsibility of people of all races to overcome and eradicate

societal discrimination. For example, NUL recently hosted an in-person event (which was also



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livestreamed) titled “The Demand Diversity Roundtable.”           This event brought together

prominent civil rights leaders to discuss the critical need to safeguard DEIA principles, confront

regressive measures, and chart actionable strategies for advancing equal opportunity for all.

       21.     Over the years, NUL has consistently promoted DEIA through the publication of

external-facing documents. As just one example, NUL publishes an annual report called State

of Black America (“SOBA”), which is NUL’s seminal contribution to public policy research on

Black America. SOBA has been published each year, uninterrupted, since the 1970s. SOBA is

highly anticipated and used by researchers, policymakers, and advocates. It is a critical part of

NUL’s identity and reputation. NUL and its members use SOBA research and analysis in

support of their federal legislative advocacy. SOBA is also a source of fundraising for NUL.

       22.     The 2024 SOBA report (“2024 report”) examined the impact of the Civil Rights

Act of 1964. In particular, the 2024 report highlighted the ways that Black Americans continue

to experience an ongoing struggle for equality, even sixty years after the Civil Rights Act was

passed. The 2024 report included a discussion of the ways that the United States Supreme Court

has dismantled affirmative action, which threatens equitable access to higher education, as well

as the DEIA initiatives that make our workplaces safer and more accessible for people from all

backgrounds. The 2024 report also discussed the ways that states are making it harder for Black

Americans and other marginalized people to participate in the democratic process by

implementing identification laws and other barriers to voting. Additionally, the 2024 report

called out Congress for holding our country hostage by refusing to pass critical spending bills

unless their anti-civil rights agenda was met. The central message of the 2024 report was that

an anti-civil rights movement has infiltrated our courts and governing bodies, threatening civil

rights at every level of government.


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        23.     Because the economic empowerment of Black Americans is central to NUL’s

mission, one of the key features of the annual SOBA report is an Equality Index. The Equality

Index documents the country’s progress towards economic empowerment for Black Americans

relative to white Americans. It uses pie charts to show how well Black Americans are doing in

terms of economic status, health, education, social justice, and civic engagement. NUL uses the

well-being of white people as a benchmark because the history of race in America has created

advantages for white people that persist in many of the outcomes being measured. The 2024

Equality Index showed an increase in equality of just under 2% from the 2022 Index. The rate

of progress leaves much to be desired and means the work NUL does to equalize opportunity is

essential.

        24.     A true and correct copy of NUL’s 2024 edition of the SOBA report is attached

as Exhibit A.

        25.     NUL also publishes “To Be Equal,” a syndicated weekly opinion column that

NUL has been distributing to news outlets across the nation since 1963, when NUL President

Whitney M. Young, Jr. started distributing as “the Voice of Black America.” “To Be Equal”

responds to current events related to civil rights and racial justice—events that often include

discussions of racial and gender justice, including the DEIA climate.

        26.     As President and CEO of NUL, I publish a weekly e-newsletter called

“ReMARCs.” Through this publication, I share matters of interest to NUL members, affiliates,

and the public. I shine light on the important work of the organization, and, in doing so, I

regularly discuss topics that include DEIA initiatives.

        27.     In addition, NUL recently published an online resource called “Demand




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    Diversity,”6 which lists ways for the public to get involved with the fight to protect DEIA

    programs. The resource provides suggestions on how people can demand diversity at their jobs,

    schools, and in their communities at large. It encourages people to stand up against anti-racial

    justice initiatives, such as the Stop WOKE Act in Florida, and to advocate for truthful and

    accurate teaching of Black history in schools.

           28.     NUL is also committed to fostering a diverse, equitable, inclusive, and accessible

    workplace internally for its own employees. As an example, NUL regularly celebrates its staff’s

    diverse and unique perspectives by hosting events for employees to celebrate Black History

    Month, Women’s History Month, Asian American, Native Hawaiian, and Pacific Islander

    Month, Pride Month, and Hispanic Heritage Month. NUL also puts on events to celebrate

    parents, both mothers and fathers. The purpose of these employee events is to recognize the

    contributions of all employees and the benefits of a diverse, equitable, inclusive, and accessible

    office environment.

           29.     NUL relies on federal funding to advance much of its work. Since 1973, NUL

    has consistently received federal funds that enable it to fulfill its core mission of combatting

    inequities across America’s economic, employment, education, health, housing, criminal

    justice, and civic participation systems by providing essential direct services.7

           30.     NUL currently has nineteen individual active federal grants, totaling $62 million.

    These federal grants come from several agencies: the U.S. Department of Labor, the Centers for

    Disease Control and Prevention, the U.S. Department of Housing and Urban Development, the



6
  Advancing Equal Opportunity for All, National Urban League, Demand Diversity Roundtable
(Jan. 22, 2025) https://nul.org/event/demand-diversity-roundtable (last visited Feb. 18, 2025).
7
  At the time of this filing, NUL receives federal grants, but it has previously been awarded
federal contracts as well.
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U.S. Department of Justice, the U.S. Department of Commerce, the U.S. Environmental

Protection Agency, and the U.S. Department of Agriculture. NUL won nearly all of this federal

funding through a rigorous and competitive Request for Proposals process.

       31.     Federal funds make up approximately 35% percent of NUL’s annual budget.

These grants support direct services and technical assistance programs involving youth

development and success, vocational training, workforce readiness and skills training, pipelines

to apprenticeships, employment programs for seniors, job programs for incarcerated people

returning home, efforts to increase access to vaccines, and home ownership counseling, among

other things. All of these programs advance DEIA principles by helping participants overcome

unfair biases based on race, ethnicity, sex, gender, disability, and other identities so that

participants can achieve a higher standard of living.

       32.     Much of the federal funding that NUL receives goes to the affiliates that carry

out programmatic work and direct services in the 300 communities that NUL serves nationwide.

In 2025, NUL will subgrant $25 million in federal grants to its affiliates. NUL manages the

programs run by local affiliates, but staff at the local affiliates do the on-the-ground work serving

directly impacted communities. A significant portion of the affiliates’ budgets comes from this

federal funding.

       33.     In 2023, the 92 National Urban League affiliates managed 836 programs and

served millions of people. Local affiliates provided healthcare services to 467,798 people,

including women, children, infants, special populations, individuals affected by COVID-related

illness, and seniors. Moreover, local affiliates directly assisted 101,307 clients with health

insurance needs. In addition, through partnerships with housing counseling agencies approved

by the U.S. Department of Housing and Urban Development, local affiliates served 54,177


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people through NUL’s comprehensive housing counseling programs, and 2,322 program

participants became homeowners for the first time. NUL affiliates also provided diverse

educational services to 74,515 participants, and 30,983 people received counseling through

NUL’s workforce development programs.

       34.     Many of these impactful programs are supported by long-standing federal grants

that have been consistently renewed for many years. One example is the U.S. Department of

Labor’s Senior Community Service Employment Program grant, which NUL has received,

managed, and fulfilled across multiple states for over 39 years. This grant is authorized by the

Older Americans Act and supports one of NUL’s most impactful economic justice efforts: the

Urban Seniors Jobs Program. To further NUL’s goal of ensuring that every American has access

to a living wage job with good benefits, the Urban Seniors Jobs Program provides subsidized,

service-based training for economically insecure people aged 55 years or older who are

unemployed but committed to finding employment. The program serves a very vulnerable

population—91% of all participants in the Urban Seniors Jobs Program lived below the poverty

line, and 56% of participants lacked a college education. Thousands of seniors have been placed

in jobs through these efforts funded by the U.S. Department of Labor.

       35.     Another example of NUL programming supported by federal funding is NUL’s

Partnering for Vaccine Equity program, funded by grant money from the U.S. Centers for

Disease Control and Prevention. The Partnering for Vaccine Equity program focuses on

improving vaccination coverage in disproportionately affected populations through funded

partnerships. The effort is targeted at Black adults who are not up to date on their COVID and

flu vaccinations and similarly situated individuals. With this CDC funding, NUL and its

affiliates conducted educational outreach about the COVID-19 vaccine and trained 25,000


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volunteers to serve as trusted messengers regarding the importance of the vaccine. In the first

year of the program, more than 80,000 individuals were vaccinated against COVID-19 by 38

local affiliates.

        36.         Another one of NUL’s federal grant programs is Project Ready Mentor, which is

funded by a grant from the U.S. Department of Justice. Through Project Ready Mentor, NUL

helps disconnected, vulnerable, court-involved, predominantly Black and Latino(a) youth, ages

11–17, to develop social and emotional skills, aptitudes, and attitudes; foster anti-bullying and

social connectedness; move from grade to grade on time; and graduate high school ready for

college or work without the need for remediation. Project Ready Mentor achieves these goals

by expanding youth access to well-trained mentors. Since 2020, NUL has used Project Ready

Mentor funds to serve 9,446 young people at 30 affiliate locations.

        37.         Further, NUL entered an Apprenticeship Contract with the U.S. Department of

Labor in July of 2022. Through this grant opportunity, NUL works to facilitate the recruitment

of individuals for preparatory training and pre-apprenticeship with a pathway into a registered

apprenticeship program. As part of this effort, NUL directly partners with employers to advance

DEIA efforts and provide technical assistance so employers can expand the job applicant pool

to include people from communities of color and other communities that historically faced

unfair challenges to accessing training and apprenticeship opportunities. This program serves a

population that is predominantly underutilized and underemployed people of color.

        38.         NUL also operates a program called Urban Youth Pathways, which is supported

by a grant from the U.S. Department of Labor. The Urban Youth Pathways program expands

access to livable wage jobs and career opportunities. It provides youth and young adults ages

14–21 with career readiness training and exploration opportunities. As part of the program,


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participants are connected with part-time and full-time job placements, internships, behind-the-

business tours, certification, and apprenticeship opportunities. This program serves historically

underserved and marginalized youth, especially Black and Latino youth, including those

involved with foster care, experiencing homelessness, and/or from income-insecure households.

       39.     The U.S. Department of Labor also funds NUL’s Growth Opportunities program,

which provides resources and pathways to equitable employment to vulnerable youth. NUL’s

target service population for this program is economically insecure Black youth who are either

justice-involved or impacted by violent crimes. The program features wrap-around social

services, including record expungement, violence prevention workshops, occupational skills

training, and placement into work experiences such as internships, apprenticeships, and part-

time and full-time employment.

       40.     NUL is also currently a sub-grantee of a U.S. Department of Labor grant awarded

to Trade Futures. NUL uses this pass-through money for its Urban Construction Jobs Program,

operated in partnership with Trade Futures. This program, which is funded through March 2027,

aims to guide 7,000 participants toward enrollment in a trade council’s Apprenticeship

Readiness Program, which provides training to apply for apprenticeships, including classes in

construction industry awareness and math, health and safety, financial readiness, and more. The

construction industry generates 7.7 million jobs, including 5.7 million craft worker occupations,

that do not require a college degree. Through the Urban Construction Jobs Program, NUL’s

local affiliates recruit and train members of underrepresented communities, including Black

Americans, formerly incarcerated people, and women, to power the construction industry and

build back their communities.

       41.     Funding from the U.S. Department of Agriculture is also essential to NUL’s


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programmatic work. With a grant from the U.S. Department of Agriculture, NUL operates the

Project Heartwood Youth Conservation Corp, a workforce development program that

establishes educational summer employment experiences in urban forest planning, assessment,

and management for disadvantaged youth ages 15–18.

       42.     Importantly, all of NUL’s workforce programs, whether federally funded or not,

challenge the false presumption that DEIA efforts are inconsistent with merit. DEIA and merit

are not mutually exclusive. Any presumption to that effect plainly perpetuates harmful racial

stereotypes regarding the qualifications of Black people and other people of color that have been

used to justify their underrepresentation and underutilization in the workforce. Instead, NUL’s

workforce programs provide participants with necessary skills through training and access to

resources and gives them access to opportunities where those skills can be utilized. Merit is not

ignored in programming that centers DEIA. In fact, merit is a central tenet of these efforts.

       43.     Federal grants also support NUL’s housing justice work. For example, the

Department of Housing and Urban Development funds multiple housing counseling projects

operated by NUL. Through NUL’s Comprehensive Housing Counseling Program, NUL makes

housing options more accessible and sustainable by leveling the economic playing field for

Black people and other people of color who are renters, homeowners, or homeless. NUL has

consistently received federal funding for this program since 2009. Since 2009, NUL has served

329,046 individuals and families through this program.

       44.     Federal grants also support NUL’s longstanding efforts to close the racial

entrepreneurship gap.    Black Americans are drastically underrepresented among business

owners relative to their share of the population. Black-owned businesses are more likely than

other businesses to be shut out of traditional financing opportunities. They are starved for


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venture capital investment, and Black business owners are more likely to pull from their personal

savings for business expenses. To combat this racial disparity in entrepreneurship, NUL

receives federal funding from the U.S. Department of Commerce, which it passes to its

subsidiary, the Urban Empowerment Fund. The Urban Empowerment Fund is a certified

Community Development Financial Institution. In partnership with the U.S. Department of

Commerce’s Minority Business Development Agency, the Urban Empowerment Fund and three

local affiliates operate the Urban Capital Readiness Program. This program helps underserved

entrepreneurs of color obtain loans and the capital needed to grow their operations and expand

their businesses in their markets. The Urban Empowerment Fund serves as a capital partner. In

addition to raising capital, participants in Urban Capital Readiness Program receive technical

assistance and resources, including business training and networking opportunities. Without

these resources, many entrepreneurs of color, including Black entrepreneurs, would not be able

to develop successful businesses due to the persistent racial inequities hindering their access to

capital, business networks, and technical expertise.

       45.     Fundamental to these grant-funded programs, like all of NUL’s work, whether

federally funded or not, is the organization’s conceptual understanding of racism, sexism, and

gender justice, especially as roadblocks to DEIA efforts. NUL’s programmatic and

communications efforts operate from an understanding that successful DEIA efforts must

acknowledge and account for systemic racism and sexism in America and that the success of

these efforts requires open dialogue around these issues and the space to recognize and identify

conscious and unconscious race and gender biases.

       46.     NUL serves 3.8 million people annually with its programs. When President

Trump issued the Executive Orders, I became concerned about the Executive Orders’ impact on


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NUL’s ability to continue operating at its current capacity. I am particularly concerned about

NUL’s ability to continue administering the federally funded programs that are integral to its

core mission of enabling Black Americans and other underserved, urban residents to secure

economic self-reliance, parity, power, and civil rights.

       47.     This fear was worsened when our organization received a memorandum, dated

January 22, 2025, from the U.S. Department of Labor, notifying all Employment and Training

Administration (ETA) recipients that “Effective immediately, all recipients of federal financial

assistance awards are directed to cease all activities related to ‘diversity, equity, and inclusion’

(DEI) or ‘diversity, equity, inclusion, and accessibility’ (DEIA) under their federal awards,

consistent with the requirements of the EOs titled ‘Ending Radical and Wasteful Government

DEI Programs and Preferencing,’ issued on January 20, 2025, and ‘Ending Illegal

Discrimination and Restoring Merit-Based Opportunity,’ issued on January 21, 2025.” The

memorandum continued: “All awardees must immediately cease all award activities related to

DEI or DEIA. All other award activities should continue. ETA will issue further guidance on

specific activities that are allowable and unallowable.”

       48.     A true and correct copy of the January 22, 2025 memorandum from the U.S.

Department of Labor is attached as Exhibit B.

       49.     All of NUL’s federal grant work, including its jobs and workforce programs

funded by the U.S. Department of Labor, involve principles of DEIA. As a historic civil rights

organization founded for the purpose of improving the standard of living for Black Americans,

NUL engages in programmatic work that requires us to recognize systemic and structural

racism, the long-standing history of racial discrimination in the United States, especially against

Black people, and the ways in which racism has closed off opportunities for Black Americans


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    and other people of color in NUL’s core areas of education and youth development, jobs,

    housing, health, justice, voting, and civil engagement.

            50.     I am concerned that, under the Executive Orders, NUL would no longer be

    eligible for federal funding if it stays true to its organizational mission and refuses to stop calling

    out the impacts of systematic discrimination. I am afraid that NUL’s conception and promotion

    of DEIA is directly at odds with the Executive Orders, which appear to define such efforts as

    discriminatory in and of themselves. Because all of NUL’s federal grant funds are used to

    provide direct services with the purpose of advancing equity, I am afraid all of our federal

    funding is at risk.

            51.     The inaccurate picture of American history painted by these Executive Orders,

    which wrongly suggest that DEIA efforts can violate civil rights laws, plainly conflicts with

    NUL’s viewpoint that DEIA is inherently anti-discriminatory. NUL believes that civil rights

    and DEIA go hand-in-hand.

            52.     The language of Anti-Diversity2 Order states that “DEI and DEIA policies”

    “violate the text and spirit of our longstanding Federal civil-rights laws” and “undermine our

    national unity, as they deny, discredit, and undermine the traditional American values of hard

    work, excellence, and individual achievement in favor of an unlawful, corrosive, and pernicious

    identity-based spoils system.”8 This language starkly conflicts with NUL’s commitment to

    effective DEIA strategies and its longstanding mission to remove all barriers to equal

    participation since those barriers were first constructed by the white supremacy that undergirded

    our country’s founding.

            53.     Because of the vagueness and ambiguity of the Executive Orders’ terms, it is not

8
    Exec. Order No. 14173, 90 Fed. Reg. at 8633.
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clear to me with any certainty what kind of equity and/or DEIA-related work would violate the

Executive Orders and what would not. The Executive Orders threaten harsh penalties and other

adverse consequences against large non-profit organizations, but use vague terms to describe

what is prohibited. As a result, NUL does not know what it must refrain from saying or doing.

NUL is also not sure whether the Executive Orders’ prohibitions extend to our non-grant funded

work relating to DEIA, such as our research, speaking engagements, trainings, webinars, reports,

including the State of Black America and its Equality Index, public education and

communications efforts, like the Demand Diversity Roundtable series, and fact sheets that are

not supported by federal dollars.

        54.     Moreover, recent comments by President Trump and federal officials that

condemn or question terms central to DEIA efforts—such as systemic racism, critical race

theory, white privilege, intersectionality, and unconscious bias— raise substantial concerns that

NUL is in violation of the Executive Orders because these are concepts that NUL centers in its

programmatic work and its advocacy work, including in the federally-funded direct services and

technical assistance it provides at the affiliate level.

        55.     This uncertainty leaves NUL with a hopeless choice. NUL could continue doing

what it has been doing for over one hundred years—what we believe is our responsibility as an

organization: demanding diversity and calling out inequities, acknowledging this country’s

history of racism and sexism, acknowledging the existence of transgender people and supporting

them, and focusing our efforts on the most vulnerable communities. This choice, however,

would require forfeiting the federal funds we have relied on since 1973 to operate the service

programs that directly aid communities that have long been ignored. In the alternative, we could

cease centering DEIA principles in our work, which would fundamentally alter our reputation


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and mission as an organization and most importantly, prevent us from providing culturally

competent and effective services to millions of people, in hopes of retaining federal funding.

Given the importance of equity principles to NUL’s historic mission and work, this is simply no

choice at all.

        56.      In addition to fears that NUL’s existing federal funding is at risk, NUL is also

afraid it will not be selected for future funding because of its commitment to DEIA and its long-

time efforts to promote these concepts. Notwithstanding NUL’s ability, readiness, and intention

to apply for future federal funding, there is a significant likelihood that NUL’s advocacy with

respect to diversity, such as its efforts to increase workforce diversity, violates the Executive

Orders and would disqualify it for future federal contracts or federal grants. In the alternative,

if NUL received a federal contract or federal grant in the near or distant future, the Executive

Orders would force NUL to agree to terms that would limit its ability to operate its programs in

the ways necessary to fulfil its core mission of advancing racial equity—or otherwise risk having

that federal contract or federal grant canceled, terminated, or suspended.

        57.      NUL is currently applying for and finalizing federal grants and federal grant

renewals. However, because there is no clarity regarding which grants are covered by the

Executive Orders, there is uncertainty regarding NUL’s eligibility to qualify for or fulfill future

contracts or grants. This includes a federal grant from the U.S. Environmental Protection

Agency for which NUL has been selected but which has not yet been finalized with a fully

executed agreement. This grant opportunity will allow NUL to serve Black communities in

Austin, Texas, Oklahoma City, Oklahoma, and Greenville, South Carolina, all of whom are at

risk of significant health harms because of climate change. Uncertainty around the status of

grant eligibility threatens NUL’s ability to project future budgets and programming. Even


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before a grant agreement is finalized, NUL must take actions in anticipation of the grant. After

the announcement of the initial award or renewal, but before the agreement is fully finalized,

NUL must expend resources to prepare for the work required by the grant. In anticipation of

beginning a grant, NUL must prepare to hire staff, build out organizational capacity, adjust

organizational priorities, and shift existing resources to accommodate future work.

       58.     DEIA concepts are fundamental to all areas of NUL’s work, and federal funds

touch all areas of NUL’s operations. Therefore, the lack of clarity, as well as the potential broad

scope of the Executive Orders, make it impossible for NUL to ensure compliance and determine

eligibility for current and future federal grant or contract opportunities while also fulfilling its

mission.

       59.     NUL is proud to serve 3.8 million people annually across its programs, but it

would not be able to continue its impactful work at its current capacity without federal funds.

Private contributions alone cannot support the work NUL does. Without the additional support

of federal funding, NUL and its local affiliates would be forced to significantly divert resources.

For example, NUL would need to cut staff. NUL currently has eleven employees whose

positions are entirely paid for by federal funding. Another eight NUL employees have positions

with salaries that are 50% funded by the federal government, and twenty other NUL employees

have positions with salaries that are partially funded by the federal government. If NUL no

longer qualifies for federal funding because of its DEIA work, then these federally-funded

employees are at risk of losing their jobs.

       60.     Without federal funding and without adequate staffing, NUL would be forced to

cut essential programming and assistance to the vulnerable communities it serves. Cutting

NUL’s programming at the local level would have catastrophic consequences across the 300


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communities served by the affiliate movement. For example, without NUL’s federally-funded

jobs and employment programs, underserved communities would experience significant job loss

and loss of opportunities for skills development, training, and recruitment. Communities served

by these programs would also lose access to other critical, and at times life-saving, resources,

including vital healthcare services and housing counseling.

       61.      NUL’s national affiliate movement, and its organizational experience doing this

work for over one-hundred years, allows it to have an especially large and impactful reach in

300 communities nationwide. It is unlikely that every person seeking these services will be able

to access the services elsewhere if NUL can no longer operate at its current capacity. Program

participants will be harmed if these services are cut or limited because there are no other service

providers that have nationwide capacity and expertise like NUL. Without NUL’s operations,

participants will be pushed further into poverty.

       62.      The central purpose of NUL’s federally-funded programs is to uplift and

empower Black Americans and other underserved communities by removing barriers to equal

opportunity. Because many of NUL’s federally-funded programs are designed to serve Black

Americans, the loss of these services at the community level will disproportionately impact

Black people.




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